                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                 KNOXVILLE DIVISION

  BITUMINOUS CASUALTY                )
  CORPORATION,                       )
                                     )
        Plaintiff,                   )
                                     )
  v.                                 )                      Case No. 3:09-cv-60
                                     )                               (VARLAN/SHIRLEY)
  WALDEN RESOURCES, LLC, AMWES       )
  EXPLORATION, LLC, DANIEL POTTS,    )
  ZTX DRILLING, LLC, JONATHAN D.     )
  VANN, LEXINGTON INSURANCE          )
  COMPANY, WILD WELL CONTROL, INC., )
  MARLOW VOLUNTEER FIRE              )
  DEPARTMENT, SUPERIOR WELL          )
  SERVICES, INC., GRIFFITH SERVICES, )
  LLC, BLOWOUT TOOLS, INC.,          )
  MILLER PETROLEUM, INC., B. J.      )
  SERVICES COMPANY and MICHAEL       )
  TRUMP,                             )
                                     )
        Defendants.                  )

                          AGREED ORDER OF DISMISSAL AS TO
                          DEFENDANT GRIFFITH SERVICES, LLC

         It appearing to the Court from the signatures hereto that:

         1.     As set forth in the complaint for declaratory judgment, interpleader and

  permanent injunctive relief filed in this action, Griffith Services, LLC was joined pursuant to

  28 U.S.C. § 2201, Rule 57 of the Federal Rules of Civil Procedure, 28 U.S.C. § 1335

  and Rule 22 of the Federal Rules of Civil Procedure, in that Bituminous Casualty

  Corporation felt that pursuant to the Declaratory Judgment Act and Federal Interpleader

  Act Griffith Services, LLC might be affected by the declarations made by this Honorable

  Court, and based upon the desire of Bituminous Casualty Corporation that Griffith

  Services, LLC be bound by the declarations made by this Honorable Court as to the




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  issues raised in this action;

         2.      Griffith Services, LLC has reviewed the complaint for declaratory judgment,

  interpleader and permanent injunctive relief, and the issues raised therein;

         3.      Griffith Services, LLC affirmatively states that all matters in controversy

  involving it have been settled, that it asserts no interest in the remaining determinations

  requested in the complaint for declaratory judgment, interpleader and permanent injunctive

  relief, and that it agrees that it will not contest the declarations sought by Bituminous

  Casualty Corporation in the complaint for declaratory judgment, interpleader and

  permanent injunctive relief; and

         4.      Consequently, Bituminous Casualty Corporation and Griffith Services, LLC

  have agreed that Griffith Services, LLC may be dismissed from this case without prejudice

  and need not participate further in this litigation.

         Based upon the representations contained herein, this Court dismisses Griffith

  Services, LLC from this matter upon the representations that it will claim no interest under

  the Declaratory Judgment Act and Federal Interpleader Act in the outcome of the

  determinations sought by Bituminous Casualty Corporation in the complaint for

  declaratory judgment, interpleader and permanent injunctive relief.

         ENTERED this 13th day of July, 2010.




                                           s/ Thomas A. Varlan
                                           UNITED STATES DISTRICT JUDGE




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  APPROVED FOR ENTRY:



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